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                        CONCISE STATEMENT OF FACTS

        1.     Bio-Rad’s NGC system is made up of four main models: Quest, Scout,

  Discover and Discover Pro. These models have the same architecture and can have

  the same modules installed therein. The differences between models relate to the

  modules that are included as standard equipment, whether they include an expansion

  housing and if so, how many. Ex. 5, p. 87-88; Declaration of Dr. Steven Wereley

  (“Wereley”) Wereley, ¶¶54-59

        2.     The NGC’s Instrument Guide states that it is a liquid chromatography

  system, and that the system “rapidly automates” the purification of biomolecules.

  Wereley, ¶¶60-61; Ex. 5, p. 11; Ex. 6 (BRGE00065119); Ex. 7 (Mavandadi Tr.)

  106:5-15.

        3.     Automated liquid chromatography systems have certain components

  for performing liquid chromatography, including an injection valve, a pump, an

  inline detector that can measure the relevant characteristics of the liquid exiting the

  chromatography column, and control software for processing, displaying, and/or

  storing the results, which operate without manual intervention. Wereley, ¶63.

        4.     All models of Bio-Rad’s NGC come standard with a sample inject valve

  module (Wereley, ¶88; (Ex. 5, pp. 37, 87); Ex. 8 (Gale Tr.) 355:13-16), two system

  pump modules (Wereley, ¶87; Ex. 5, pp. 28, 87), a UV monitor module that
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  measures characteristics of the liquid exiting the chromatography column (Wereley,

  ¶172; Ex. 5, pp. 65-72, 87; Ex. 8 (Gale Tr.) 357:2-359:2)) and control software for

  automatically controlling the liquid chromatography system (Ex. 8 (Gale Tr.) 356:3-

  7; Ex. 3 (Chapman Tr.) 333:18-334:2; Ex. 9, p. 21). See also Wereley, ¶¶60-64, 73-

  82.

        5.    Each NGC model has a housing. Wereley, ¶¶65-72; Ex. 10 (Bland Tr.)

  86:2-86:17; Ex. 11 (BRGEDEL445194); Ex. 3 (Chapman Tr.) 541:6-541:22.

        6.    Each NGC model has a single board computer that controls the system.

  Ex. 10 (Bland Tr.) 36:1-36:13.

        7.    The single board computer is installed inside the housing. Wereley,

  ¶78; Ex. 10 (Bland Tr.) 37:8-38:18).

        8.    Each module communicates with the single board computer via a bus.

  Wereley, ¶79-80; Ex. 10 (Bland Tr.) 144:1-144:11; Ex. 13 (BRGE96083); Ex. 14

  (BRGEDEL450748).

        9.    All NGC models come with two system pump modules, a sample inject

  module, and a UV detector module. Wereley, ¶¶85-88; Ex. 5, p. 87.

        10.   Each of these modules can be inserted into and removed from positions

  in the housing. Wereley, ¶¶89-90; Ex. 5, p. 19; Ex. 12 (BRGEDEL401642,

  BRGEDEL401629).



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        11.    Each module has a standardized size and shape that allows it to be

  exchanged with another component. Wereley, ¶89; Ex. 5, pp. 237-238; Ex. 10

  (Bland Tr.) 98:13-101:1.

        12.    All NGC models have modules that contain a section that includes

  fluidics components and does not include non-fluidics components. Wereley, ¶¶97-

  106; Ex. 13 (BRGE96090); Ex. 14 (BRGEDEL450753); Ex. 3 (Chapman Tr.

  529:12-530:17, 528:16-529:10); Ex. 5, pp. 29, 37-38, 40; Ex. 15 (Gale Rebuttal

  Report) (Bio-Rad’s expert does not refute that the fluidics components identified by

  Dr. Wereley do not contain non-fluidics components).

        13.    All NGC models have modules that contain a section that includes

  electrical components and does not include fluidics component. Wereley, ¶¶110-

  115; Ex. 13 (BRGE0096090), Ex. 14 (BRGEDEL000450753)); Ex. 3 (Chapman Tr.)

  529:12-530:17, 528:16-529:10; Ex. 16 (BRGEDEL317444, BRGEDEL317453-

  317455, BRGEDEL317564); Ex. 15 (Gale Rebuttal Report) ¶¶117, 122-123

  (BioRad’s expert does not take issue with whether the non-fluidic section, as

  identified by Dr. Wereley, contains fluidic components).

        14.    All NGC models have a bus connector for directly connecting the

  interchangeable modular component with the system bus. Wereley, ¶¶117-127.

        15.    All NGC models have a panel member that separates an internal non-

  fluidics section from an external fluidics section. Wereley, ¶¶129-131; Ex. 5, pp. 28,
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  37; Ex. 10 (Bland Tr.) 151:4-155:21); Ex. 3 (Chapman Tr.) 388:18-21; Ex. 15 (Gale

  Rebuttal Report) ¶78 (Bio-Rad’s expert does not refute that the structure Dr.

  Wereley identifies as the claimed panel member separates the non-fluidics section

  and fluidics section, as they are identified by Dr. Wereley).

        16.    All NGC models have a housing comprising a liquid handling panel

  with at least four component receiving positions arranged in a two dimensional array

  and adapted to receive said interchangeable modular components such that, when

  inserted, the fluidics section is external to the housing and the non-fluidics section

  is internal to the housing. Wereley, ¶¶138-140; Ex. 5, p. 22, 237-238.

        17.    All NGC models have component receiving position that includes a

  complementary connector for connecting the bus connector of the interchangeable

  modular component inserted therein to said system bus. The NGC has a “backplane”

  that the back of each module abuts upon insertion into the housing and the backplane

  contains a series of connectors that mate with the connector on the back of an

  inserted module Wereley, ¶¶144-146; Ex. 10 (Bland Tr.) 144:1-11.

        18.    Each NGC module has a CPU. Wereley, ¶¶150-155; Ex. 13

  (BRGE96081), Ex. 14 (BRGEDEL450746); Ex. 10 (Bland Tr.) 105:2-105:17; Ex.

  17 (BRGEDEL98274); Ex. 18 (GEHCDEL129737, at GEHCDEL129796).

        19.    The CPU on each module allows the interchangeable modular

  component to independently perform operations in response to instructions over the
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   system bus. Wereley, ¶¶79-80, 157-159; Ex. 2 (Iovanni Tr.) 105:9-105:22; Ex. 10

   (Bland Tr.) 107:13-108:13, 144:1-144:11; Ex. 13 (BRGE96083); Ex. 14

   (BRGEDEL450748).

         20.   Each module receives instructions over the bus from the master control

   unit. Decl. of Nenad Vukicevic (“Vukicevic”), ¶¶5-9; Ex. 10 (Bland Tr.) 106:20-

   107:1, 105:18-108:13.

         21.   Each NGC model has a master control unit that is arranged to

   automatically identify interchangeable modular components. Wereley, ¶164; Ex. 5,

   p. 19; Ex. 12 (BRGEDEL401629); Ex. 10 (Bland Depo. Tr.) 81:19-85:22;

   Vukicevic, ¶10.

         22.   Each NGC model can accommodate any module, regardless of whether

   a module comes standard with a particular system. Wereley, ¶¶169-170; Ex. 5, p 87-

   88.

         23.   The NGC Quest comes standard with a sample inject valve module and

   a customer can purchase additional valve modules and install them into the system,

   e.g., a pH valve module. Wereley, ¶¶169-170; Ex. 5, p 87-88.

         24.   Each NGC model comes standard with a UV detector module. Wereley,

   ¶¶169-170, Ex. 5, p 87-88.

         25.   The housing unit of each NGC model has a plurality of receiving

   portions. Wereley, ¶¶221-223; Ex. 5, pp. 90-91, 237-238.
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         26.    Each of Bio-Rad’s UV monitor modules have a fluid handling section.

   Wereley, ¶¶226, 234-235; Ex. 19 (BRGEDEL282560), Ex. 20 (BRGEDEL281538);

   Ex. 3 (Chapman Tr.) 532:4-534:17; Ex. 5, p. 66-67, 69, 205.

         27.    Each of the two system pump modules, sample inject valve module,

   and UV detector modules is configured for insertion into the receiving positions of

   the housing unit. Wereley, ¶215; Ex. 5 p. 19; Ex. 12 (BRGEDEL401629,

   BRGEDEL401642); Ex. 10 (Bland Tr.) 98:13-101:1.

         28.    Each NGC model has modules that are readily interchangeable amongst

   similarly sized and shaped receiving positions of the housing unit, such that

   positioning of the modular fluid handling unit with respect to other modular fluid

   handling units permits a fluid flow path to be readily modified, wherein the fluid

   flow path is formed by fluidic connections between the modular fluid handling units.

   Wereley, ¶¶243-250; Ex. 5, pp. 19, 233-239; Ex. 21 (BRGEDEL293539,

   BRGEDEL293542); Ex. 22, pp. 2-3; Ex. 10 (Bland Tr.) 100:8-101:1.

         29.    The only difference between claim 1 of the ’591 patent and claim 1 of

   the ’420 patent is that the former requires only two fluid handling units arranged as

   interchangeable module components and they need not be arranged in a two

   dimensional array Wereley, ¶¶264-265.

         30.    The two system pump modules that come with each NGC model have

   fluid connectors for connecting the fluid handling unit to a liquid chromatography
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   fluid path and the connectors are on the external side of the panel member. Wereley,

   ¶286, Ex. 23 (BRGEDEL1507).

         31.   When interconnecting the fluid inputs and outputs on the NGC, fluid

   will pass through the system.      Wereley, ¶¶295-296; Ex. 5, p. 22; Ex. 21,

   (BRGEDEL293539).

         32.   The panel member for each of the NGC modules enables mounting of

   the module to the housing. Wereley, ¶305; Ex. 5, p. 235; Ex. 10 (Bland Tr.) 151:4-

   155:21; Ex. 3 (Chapman Tr.) 387:10-17.

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          Pursuant to the Court’s November 6, 2019 Standing Order, I hereby confirm

   that this brief complies with the type and number limitations set forth in the

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